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                   EXHIBIT K
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                          THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFO . JA                         MAY 042015
  IN RE SONY GAMING NETWORKS         )
  AND CUSTOMER DATA SECURITY         )
  BREACH LITIGATION                  )                   CIVIL CASE NO.
                                     )                   II-MD-2258 AJB (MDD)
                                     )
  Th" fiH", reI,tOO ro,   ALL ACTION~


                                     IIlR         DJ JUDGMENT

          WHEREAS, Representative Plaintiffs and the defendants, Sony Computer Entertainment

  America LLC ("SCEA"), Sony Network Entertainment International LLC and Sony Network

  Entertainment America Inc. (having been merged into Sony Network Entertainment International

  LLC on September 30, 2011) (together, "SNE"), and Daybreak Game Company LLC, f/k/a Sony

  Online Entertainment LLC ("SOE"), (collectively, "Sony" or "the Sony Entities"), entered into a

  Settlement Agreement dated April 18, 2014, amended by Amendment to the Settlement

  Agreement dated June 9, 2014, and further modified by side letter dated April 1, 2015 (together

  with the Exhibits thereto, the "Settlement Agreement");

         WHEREAS, on July 11,2014, the Court entered an Order Granting Plaintiffs' Motion for

  Preliminary Approval of Class Action Settlement ("Preliminary Approval Order") that, among

  other things, (a) preliminarily certified, pursuant to Fed. R. Civ. P. 23, a class for the purposes of

  settlement only; (b) approved the form of notice to Settlement Class Members, and the method of

  dissemination thereof; (c) directed that appropriate notice of the settlement be given to the

  Settlement Class; and (d) set a hearing date for final approval of the settlement;

         WHEREAS, the notice to the Settlement Class ordered by the Court in its Preliminary

  Approval Order has been provided, as attested to in the declaration of Shannon R. Wheatman,

  PhD., filed with the Court on April 3, 2015;
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           WHEREAS, the governmental notice required by the Class Action Fairness Act, 28

   U.S.C. § 1715, was provided on or about June 20, 2014, and was supplemented thereafter, as

   attested to in the declaration of Amy L. Lake, filed with the Court on April 21, 2015; and

          WHEREAS, on May 4, 2015, a hearing was held on whether the settlement set forth in

   the Settlement Agreement was fair, reasonable, adequate, and in the best interests of the

   Settlement Class, such hearing date being a due and appropriate number of days after such notice

   to the Settlement Class and the requisite number of days after such governmental notice;

          NOW THEREFORE, having reviewed and considered the submissions presented with

   respect to the settlement set forth in the Settlement Agreement and the record in these

   proceedings, having heard and considered the evidence presented by the parties and the argument

   of counsel, having determined that the settlement set forth in the Settlement Agreement is fair,

   reasonable, adequate, and in the best interests of the Settlement Class, and noting that, as set

   forth in Paragraph 7.5 of the Settlement Agreement, the application of Co-Lead Settlement Class

   Counsel for an award of fees, costs and expenses is separate from the issue of whether final

   approval should be given to settlement set forth in the Settlement Agreement, and good cause

   appearing therefor,

          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

          1.      The Court incorporates by reference the definitions set forth in the Settlement

  Agreement.

          2.      The Court has subject matter jurisdiction of this matter and all claims asserted

  against the Sony Entities.

          3.      The form, content, and method of dissemination of the notice given to the

  Settlement Class were adequate and reasonable, and constituted the best notice practicable under




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  the circumstances. The notice, as given, provided valid, due, and sufficient notice of the

  proposed settlement, the terms and conditions set forth in the Settlement Agreement, and these

  proceedings to all Persons entitled to such notice, and said notice fully satisfied the requirements

  of Rule 23 of the Federal Rules of Civil Procedure and due process.

         4.      Pursuant to Fed. R. Civ. P. 23 and this Court's Preliminary Approval Order, for

  the purposes of settling the Released Claims against the Released Persons in accordance with the

  Settlement Agreement, the following Persons are members of the Settlement Class:

                All Persons residing in the United States who had a PlayStation
                Network account or sub-account, a Qriocity account, or a Sony
                Online Entertainment account at any time prior to May 15,2011
                (referred to herein as "PSN Accountholders," "Qriocity
                Accountholders," and "SOE Accountholders" respectively).
                Excluded from the definition of Settlement Class are the Sony
                Entities and their officers and directors, and those Persons who
                timely and validly request exclusion from the Settlement Class.


         5.      Excluded from the Settlement Class are those Persons identified in Exhibit A,

  attached hereto, who submitted timely and valid requests for exclusion from the Settlement Class

  ("Opt-Outs"). Opt-Outs shall neither share in the distribution of any settlement fund nor receive

  any benefits of the terms of the Settlement Agreement, and shall not be bound by this Judgment.

         6.      Representative Plaintiffs and Co-Lead Settlement Class Counsel fairly and

  adequately represented the interests of Settlement Class Members in connection with the

  settlement set forth in the Settlement Agreement.

         7.      All objections to the settlement set forth in the Settlement Agreement having been

  considered and having been found either to be mooted by the settlement or not supported by

  credible evidence, the settlement set forth in the Settlement Agreement is in all respects, fair,




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   adequate, reasonable, proper, and in the best interest of the Settlement Class, and is hereby

   approved.

           8.      Representative Plaintiffs, the Sony Entities, and Settlement Class Members shall

   consummate the settlement according to the terms of the Settlement Agreement. The Settlement

   Agreement, and each and every term and provision thereof, shall be deemed incorporated herein

   as if explicitly set forth herein and shall have the full force and effect of an order of this Court.

           9.      All the claims alleged in the Litigation and all complaints filed in any action in

   the Litigation are hereby dismissed with prejudice, each party to bear his own costs, except as

   may be expressly provided in the Settlement Agreement.

           10.    Each Released Claim of each Settlement Class Member is hereby extinguished as

   against the Released Persons. Representative Plaintiffs and each Settlement Class Member shall

   be deemed conclusively to have compromised, settled, discharged, and released the Released

   Claims against the Released Persons upon the terms and conditions provided in the Settlement

   Agreement.

           II.    Settlement Class Members shall be and hereby are permanently barred and

   enjoined from, either directly, indirectly, representatively, as a member of or on behalf of the

   general public, or in any capacity, commencing, prosecuting, or pmiicipating in any recovery in,

   any action in this or any other fOlUm (other than pmiicipation in the settlement as provided

   herein) in which any of the Released Claims against the Released Persons is asserted.

          12.     Neither this Judgment, the Settlement Agreement, the settlement contained

   therein, nor any act performed or document executed pursuant to or in furtherance of the

   Settlement Agreement or the settlement: (a) is or may be deemed to be or may be used as an

   admission of, or evidence of, the validity or lack thereof of any Released Claim, or of any




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  wrongdoing or liability of any of the Released Persons; or (b) is or may be deemed to be or may

  be used as an admission of, or evidence of, any fault or omission of any of the Released Persons

  in any civil, criminal, or administrative proceeding in any court, administrative agency, or other

  tribunal. Any of the Released Persons may file the Settlement Agreement and/or this Judgment

  in any action that may be brought against them in order to support a defense or counterclaim

  based on principles of res judicata, collateral estoppel, release, good faith settlement, judgment

  bar or reduction, or any other theory of claim preclusion or issue preclusion or similar defense or

  counterclaim.

          13.     The Court has reviewed the attorneys' fees, costs and expenses petition filed by

  Co-Lead Settlement Class Counsel on behalf of all Plaintiffs' Counsel and a
                                                          >()t?P
  fees, costs and expenses in the amount of   2t 15'~ ~folnbined).
  and expenses by the Sony Entities shall be made to Co-Lead Settlement Class Counsel. The

  Court recognizes that Co-Lead Settlement Class Counsel are most familiar with the participation

  and contributions of Plaintiffs' Counsel in this litigation, and, accordingly hereby orders and

  provides that they shall be and are hereby authorized to allocate and distribute said funds

  amongst Plaintiffs' Counsel in their sole discretion to be reasonably applied. Any dispute

  concerning said allocations shall be under the jurisdiction of this Court.

         14.      The parties have stipulated and the Court has determined that the Court's decision

  to grant final approval of the settlement set forth in the Settlement Agreement is separate from

  the issues raised by Co-Lead Settlement Class Counsel's petition for fees, costs, and expenses.

         15.      Without affecting the finality of this Judgment in any way, this Court retains

  continuing jurisdiction over the Settling Parties and the Settlement Class for the administration,

  consummation, and enforcement of the terms of the Settlement Agreement.




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          16.     In the event the Effective Date does not occur, this Judgment shall be rendered

   null and void and shall be vacated and, in such event, as provided in the Settlement Agreement,

   this Judgment and all orders entered in connection herewith shall be vacated and null and void.

          SO ORDERED.




   Dated: --4~~~~




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                                                         C.A. No. ll-md-2258, Exhibit A to Judgment




                         EXHIBIT A
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                                                                                CA. No. 11-md-2258, Exhibit A to Judgmen
                                         IN RE SONY GAMING NETWORKS
                                 AND CUSTOMER DATA SECURITY BREACH LITIGATION
                                                   Exclusions


     1    AHMED NASSAR
     2    AHRON M WEST
     3    ANDREW LLODRA
     4    ANTHONY ANSELMO
     S    BILLIE OH
     6    BRENDASIM
     7    CARTER PLOTKIN
     8    CATHERINE S LlNARD
     9    CHARLES KUGELMAN
     10   CHRISTIAN LlU
     11   CLAYTON C DALEY III
     12   CODY SEARL
     13   DANIELSIM
     14   DAVID M GRIMANI
     1S   DAVID M JORDAN
     16   DEREK MASSOUDA
     17   DONNA DANICA DJORDJEVICH REYNA
     18   ELIAS ANDERSON
     19   EMMANUEL TAVERAS
     20   ISAAC W COLYER-PENA
     21   JEFFREY NEIL GOFORTH
     22   JESSE M LlNDMAR
     23   JESSE W MARSHIK
     24   JOHN KRAYER
     25   JOHN SIK-ON LEE
     26   JONATHAN SATO
     27   JORDAN MASSEY
     28   JOSE VIELMA
     29   JOSEPH A CILLUFFO
     30   KEITH BENSON RADCLIFFE
     31   KEITH PECHARZA
     32   KElVAN KHALICHI
     33   LlNA RIVAS & CESAR RIVAS
     34   MANDl JO WHEELER
     35   MARC WHEELER
     36   MASAKAZU MATSUSHITA
     37   MATIHEW MICHAEl JENSEN
     38   MICHAEL INFINGER
     39   MIKE CUNHA
     40   MORRIS CHOW
     41   NICHOLAS LOSCO
     42   NINA BORCHOWIEC
     43   RICHARD SUN
     44   SHAWN FULFER
     45   STEPHEN CHARLES ENGLAND
     46   THOMAS A NOSTIN II
     47   VICTOR CALDERON
     48   WILLIAM ETADLOCK II
     49   WILLIAM MEREDITH
     50   ZACHARY Y SHARON
